Case 1:22-cv-00983-VEC   Document 300-4
                                  257-4   Filed 11/05/24
                                                08/08/24   Page 1 of 3




                  EXHIBIT 4
           Case 1:22-cv-00983-VEC          Document 300-4
                                                    257-4            Filed 11/05/24
                                                                           08/08/24           Page 2 of 3
                                                                              A Page Vault
Document title:                  Bloomberg Billionaires Index - Phil Knight & family

Capture URL:                     https://www.bloomberg.com/billionaires/profiles/philip-h-knight/

Page loaded at (UTC):            Wed, 07 Aug 2024 16:49:40 GMT

Capture timestamp (UTC):         Wed, 07 Aug 2024 16:50:10 GMT

Capture tool:                    10.49.0

Collection server IP:            54.145.42.72

Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
                                 Chrome/124.0.0.0 Safari/537.36

Operating system:                Linux (Node 20.11.1)

PDF length:                      2

Capture ID:                      obrDvivuZUdduYYqRVWJ9N

User:                            dchekhov




                        PDF REFERENCE #:             tthVN2xCDvhpTqfifVEWcD
                           Case 1:22-cv-00983-VEC                         Document 300-4
                                                                                   257-4                 Filed 11/05/24
                                                                                                               08/08/24        Page 3 of 3




                             T-MOBILE
                             FOR BUSINESS


             Pee                    ee Rn                  en eee           ee    een              ee eee        ee      teen

             Bloomberg                                                                                                               oat           ry
             OUR           AU                                        Co      TA)                                                             STL




                                          profile                                                            500
                                    richest people                                               biggest movers
                                                                      fortunes                                  returns


                                    #48           PhilKnight&family                                       $32.2B
                                    Random fact: Bought Nike's Swoosh                        logo in 1971 for $35 from a design
                                    student.



                                    Overview

                                    Knight is the founder and largest shareholder of Nike, the world's biggest
                                    maker of athletic shoes and sports apparel. The Beaverton, Oregon-based
                                    company operates more than 1,000 stores and had revenue of $51.2 billion
                                    in the year to May 2023. The business?s range of brands includes Converse
                                    and Jordan.

                                    As of August 7, 2024:
                                    Last change            +$3.88M    ( +0.0%)               Country/ Region   United States
                                    YTD change                                              Age                86
                                    Biggest asset          NKE US Equity                     Industry          Consumer



                                    View net worth over:     Max     year        iquarter     imonth   iweek




                                                                                                                                  $60B

                                                                   lag           cota)                     a


Document title: Bloomberg Billionaires Index - Phil Knight &amp; family
Capture URL: https://www.bloomberg.com/billionaires/profiles/philip-h-knight/
Capture timestamp (UTC): Wed, 07 Aug 2024 16:50:10 GMT                                                                                                  Page 1 of 1
